
¶ 1 Department II of the Court, composed of Chief Justice Fairhurst and Justices Madsen, Stephens, González and Yu (Justice Johnson sat for Justice Madsen and Justice Wiggins sat for Justice González), considered at its October 30, 2018, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is granted. Review is also granted of the issues raised in the answer to the petition for review. Any party may serve and file a supplemental brief within 30 days of the date of this order.
For the Court
/s/ Fairhurst, C.J.
CHIEF JUSTICE
